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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO



JOEL M. YOUNG,
an individual,

            Plaintiff,

v.                                                              Case No. 21-cv-00917

TESLA, INC.,
a Delaware Corporation,

            Defendant.



            DEFENDANT TESLA, INC.’S MOTION TO DISMISS THE COMPLAINT


            Plaintiff’s Complaint is premised on an alleged promise Tesla never made: that Plaintiff’s

Model 3 vehicle would be fully autonomous by the end of 2019. Like all vehicles sold at the time,

Plaintiff’s car came equipped with the advanced hardware needed to enable Tesla’s proprietary

Autopilot (driver assistance) features and full-self driving in the future. Plaintiff selected the

optional “Full Self Driving Capability” (FSDC) package, giving him access to even more advanced

driver-assist features, plus the right to receive future over-the-air software updates that will one

day enable full autonomy. Tesla made clear, however, that existing features require active driver

supervision, and that Tesla would release autonomous driving features in the future—through

over-the-air software updates designed to improve functionality over time. Tesla did not promise

autonomy on any specific timeline, instead explaining that the deployment of such features would

depend on achieving software development and regulatory approval milestones.


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            Plaintiff’s Complaint tries, but fails, to manufacture a supposed “promise” by Tesla to

deliver a fully autonomous car by 2019, and should be dismissed in its entirety.

            First, Plaintiff’s breach of contract claim fails because he cannot point to any contract term

stating his vehicle would be able to drive autonomously by the end of 2019. As Tesla explained—

in a vehicle purchase screen that Plaintiff cites in the Complaint but fails to attach—the current

FSDC features at the time of Plaintiff’s purchase “require active driver supervision and do not

make the vehicle autonomous.” Request For Judicial Notice, Ex. 1 (emphasis added). 1 And any

future upgrades towards fully autonomous driving would depend on “achieving reliability far in

excess of human drivers as demonstrated by billions of miles of experience, as well as regulatory

approval, which may take longer in some jurisdiction.” Id. 2

            Second, Plaintiff’s Second (Unjust Enrichment), Third (Civil Conversion), and Fourth

(Negligence Per Se) causes of action all fail because, as a matter of law, Plaintiff cannot use these

tort theories to manufacture obligations that exceed the express contract terms to which he agreed.

            Third, Plaintiff’s fraud claim also fails because he pleads none of the required elements,

and fails entirely to meet the heightened pleading standard applicable under Rule 9(b). Indeed,

Plaintiff does not allege he actually saw or heard any of the alleged misstatements before buying

his vehicle, nor does he allege any facts suggesting that Tesla supposedly intended to defraud him.



1Tesla has filed a Request for Judicial Notice concurrently with this Motion so this Court may consider the full text
of the documents Plaintiff relies on. As explained further in the RJN, a court may consider an indisputably authentic
copy of a document that “is referred to in the complaint and is central to the plaintiff’s claim,” even where that
document is not attached to the complaint. MacArthur v. San Juan Cty., 309 F.3d 1216, 1221 (10th Cir. 2002) (quoting
Dean Witter Reynolds, Inc. v. Howsam, 261 F.3d 956, 961 (10th Cir. 2001), rev’d, 537 U.S. 79 (2002)).
2Exhibit 1 is the May 2019 version of the webpage referenced in the Complaint, which is available on the Internet
Archive’s Wayback Machine at:
https://web.archive.org/web/20190520040503/https://www.tesla.com/model3/design#autopilot

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Moreover, when the purported misstatements are put in context—as opposed to Plaintiff’s partial

and misleading quotations—it is clear Tesla did not promise (or even suggest) that Plaintiff’s car

would be fully autonomous by the end of 2019.

            Fourth, Plaintiff’s final claim of negligence per se should be dismissed because it is based

on purported violations of criminal law statutes that no New Mexico court has ever found to

support such a claim. And Plaintiff offers no reason why this Court should be the first to do so.

            In sum, Plaintiff’s Complaint seeks to impose liability based on an unsupported—and

entirely fictional—claim that Tesla promised him a fully autonomous vehicle by 2019. Tesla did

no such thing, and Plaintiff’s Complaint should be dismissed in its entirety.

I.          BACKGROUND

            A.     The Parties & Agreement

            Tesla is an American company dedicated to accelerating the world’s transition to

sustainable energy through electric vehicles, solar energy solutions, and other technologies.

            Plaintiff Joel M. Young is a resident of New Mexico who purchased a Model 3 vehicle

from Tesla on or about May 20, 2019. (No. 21-cv-00917, Compl. ¶¶ 1, 9.) As part of the

transaction, Plaintiff entered into a Motor Vehicle Purchase Agreement (“Agreement”) with

Tesla. 3 See Complaint Ex. A. As shown on the “Vehicle Configuration” page of the Agreement,

Plaintiff agreed to purchase a 2019 Model 3 for $60,100. Id. at Ex. A p.1. Plaintiff selected and

paid $6,000 for an optional package called “Full Self-Driving Capability,” which included a set of




3 The Agreement contains an “Agreement to Arbitrate” which Tesla is not presently seeking to invoke in light of
Plaintiff’s representation that he timely opted out of the arbitration clause, Compl. ¶ 11(vii), but Tesla reserves the
right to do so at a later time, particularly in the event additional information shows that Plaintiff in fact did not
timely opt out of arbitration.

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advanced driver assistance features such as Auto Lane Change and Autopark, and the ability to

receive ongoing over-the-air software updates to enable additional features, including autonomous

driving features, in the future. Id.

            The Agreement explains that Plaintiff “agree[d] to purchase the vehicle … described in

[his] Vehicle Configuration.” Id. at Ex. A p.3. It also states that the vehicle was “priced and

configured based on features and options available at the time of order and [he could] confirm

availability with a Tesla representative.” Id.

            The Agreement contains an “Integration” clause providing that “[p]rior agreements, oral

statements, negotiations, communications or representations about the Vehicle sold under this

Agreement are superseded by this Agreement”; and that “[t]erms relating to the purchase not

expressly contained herein are not binding.” Id. 4

            B.     Tesla’s Disclosures

            Plaintiff cherry-picks several statements on Tesla’s website to give the impression that it

promised fully autonomous driving by the end of 2019. First, Plaintiff points to an unidentified

page on Tesla’s website at Paragraph 50 of the Complaint. Yet, as Plaintiff’s Complaint concedes,

this page explains that Tesla vehicles have “the hardware needed in the future for full self-driving”

and cautions that future implementation of FSDC features would depend on achieving additional

development and regulatory milestones: “the future use of these features without supervision is

dependent on achieving reliability far in excess of human drivers as demonstrated by billions of

miles of experience, as well as regulatory approval, which may take longer in some jurisdictions.”


4 The Agreement also contains a “Limitation of Liability” clause stating that Tesla is “not liable for any incidental,

special or consequential damages arising out of this Agreement”; and that Plaintiff’s “sole and exclusive remedy
under this Agreement will be limited to reimbursement of [his] Order Payment.” Id.

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(Compl. ¶ 50.)

            Second, Plaintiff refers to “Tesla’s ordering page for the Model 3” that he presumably saw

when purchasing his vehicle. Id at ¶ 54, fn. 21. Plaintiff quotes from this page in alleging that

Tesla promised “Full Self-Driving Capability is ‘coming later this year.’” Id. at ¶¶ 17, 88(i). The

Complaint, however, misrepresents and distorts Tesla’s use of that phrase. The complete relevant

excerpt states as follows:




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RJN, Ex. 1. As shown, Tesla explained that FSDC consisted of certain specifically identified

driver assistance features (Auto Lane Change, Autopark, etc.) and that those “currently enabled

features require active driver supervision and do not make the vehicle autonomous.” As to

potential future FSDC features, Tesla advised that any such features would necessarily depend on

“regulatory approval” and other developments, consistent with the other Tesla web page

referenced above.

            C.     The Podcast & Tweet

            The Complaint also relies in significant part on a partial quotation of a February 19, 2019

interview of Tesla CEO Elon Musk on the Ark Invest podcast. See, e.g., Compl. at ¶ 24. According

to the Complaint, Mr. Musk said: “I think we will be ‘feature-complete’ on full self-driving this

year, meaning the car will be able to find you in a parking lot, pick you up, take you all the way to

your destination without an intervention this year. I am certain of that. That is not a question

mark.” Id. As quoted, Mr. Musk expressed his belief about what a Tesla vehicle “will be able to”

do from an engineering standpoint and made no promise of what features might actually be made

available to drivers. Indeed, Mr. Musk made that distinction unmistakably clear in the remainder

of the podcast, which Plaintiff omits from the Complaint:

            [I]n defining autonomy or full self-driving, I think we will be “feature-complete”
            on full self-driving this year, meaning the car will be able to find you in a parking
            lot, pick you up, take you all the way to your destination without an intervention
            this year. I would say that I am certain of that. That is not a question mark.

            However, people sometimes will extrapolate that to mean now it works with 100%
            certainty requiring no observation perfectly. This is not the case. Once it is feature
            complete, then you’re sort of, kind of the “march of 9s,” like how many 9s of
            reliability do you want it to be. And then when do regulators agree that it is that
            reliable.



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            So, there’s feature-complete plus full self-driving, this year, with certainty. This is
            something we control, and I manage autopilot engineering directly every week in
            detail. So I’m certain of this. Then, when will regulators allow us even to have
            these features turned on with human oversight. That is a veritable wish we have
            limited control over. Then, it’s when will regulators agree that these things can
            be done without human oversight, and that is another level beyond that. So, these
            are externalities we don’t quite control, and the conservatism of regulators varies a
            lot from one jurisdiction to another.

            RJN Exhibit 2. 5 When Plaintiff’s selective quotation is put in context, it is clear Mr. Musk

made no promise that full autonomous driving without human intervention would be available to

Tesla owners in 2019. He instead remarked that even after the threshold of “feature complete”

was passed, meaning the vehicle had the capacity for full self-driving, the issue of reliability

remained. Id. (“Once it is feature complete, then you're sort of, kind of a march of nines. Like,

how many nines of reliability do you -- do you want it to be?”) He also cautioned it was uncertain

when regulators would even allow “these features turned on with human oversight” and any use

“without human oversight” would require “another level beyond that,” in terms of additional

approvals.

            The Complaint also makes reference to a December 19, 2019 tweet from Mr. Musk—which

postdated Plaintiff’s purchase—alleging that Mr. Musk stated that FSDC would be fully

autonomous and “merely ‘needs a few more days of validation[.]” (Compl. ¶¶ 32, 71(iii).)

However, Plaintiff misleadingly omits that the tweet is part of a series, with the first tweet stating

that “Tesla holiday software update has FSD sneak preview, Stardew Valley, Lost Backgammon

& a few other things[.]” RJN Exhibit 3. In response to that tweet, one Twitter user asked to receive

the software update on the same day, so that he could talk about it on an upcoming podcast. Id.


5 Exhibit 2 is a certified transcript of the podcast cited in the Complaint, which is available at https://ark-
invest.com/podcast/on-the-road-to-full-autonomy-with-elon-musk/.

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Mr. Musk responded “Needs a few more days of validation, then early access, then wide release.”

Id. In context, Mr. Musk plainly was not promising a full release of FSDC in December, but

instead was discussing the timing for just a “sneak preview” of FSDC features, plus a host of

unrelated features, including games (like Lost Backgammon) that customers can play on the

vehicle’s touchscreen.

            D.     Plaintiff’s Claims.

            Plaintiff’s Complaint includes claims for breach of contract, unjust enrichment, civil

conversion, negligence per se, and common law fraud. Id. ¶¶ 89-144. All claims are predicated

on the same core allegation that Tesla allegedly promised that Plaintiff’s Model 3 vehicle would

have fully autonomous driving functions “equivalent to Society of Automotive Engineers (‘SAE’)

Level 4 or 5 automated driving, whereby a vehicle can safely drive itself through traffic without

intervention by a human being” by no later than the end of 2019. Id. ¶ 2.

                                         LEGAL STANDARD

            A complaint must be dismissed if it “fail[s] to state a claim upon which relief can be

granted.” Fed. R. Civ. P. 12(b)(6). “A pleading that offers ‘labels and conclusions’ or ‘a formulaic

recitation of the elements of a cause of action will not do.’” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)). Rather, a complaint

“must contain sufficient factual matter, accepted as true, to state a claim … that is plausible on its

face.” Id. (cleaned up). “A claim has facial plausibility when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. Courts “are not bound to accept as true a legal conclusion couched as a factual

allegation.” Id. (cleaned up).


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                                              ARGUMENT

I.          PLAINTIFF’S BREACH OF CONTRACT CLAIM FAILS AS A MATTER OF LAW.

            Plaintiff’s breach of contract claim fails because the purported obligations he seeks to

enforce are found nowhere in the Agreement. Specifically, Plaintiff claims Tesla was required to

deliver a Model 3 vehicle that could drive itself autonomously with no human intervention before

the end of 2019 (Compl. ¶¶ 15, 16), but points to no term in the Agreement to that effect. This

alone mandates dismissal of Plaintiff’s claim. See President and Fellows of Harvard Coll. v.

Elmore, 222 F. Supp. 3d 1050 (D.N.M. 2016) (dismissing breach of contract claim where contract

on its face did not contain the obligation plaintiff sought to impose and plaintiff “allege[d] no

extrinsic evidence to show that the parties intended a broader meaning” for the express terms in

the contract).

            Plaintiff refers to an interview in a podcast, an article from a newspaper in Arkansas, and

a tweet that supposedly gave the “impression[]” that FSDC means autonomous driving “without

intervention by a human being.” Compl. ¶ 2. But those extra-contractual statements, some from

after he purchased his vehicle, do not support Plaintiff’s effort to impose additional contractual

obligations on Tesla. First, Plaintiff does not allege that he actually saw or heard these statements

before purchasing his vehicle (as detailed in Section III below) so there is no basis to conclude that

the statements in any way informed his contractual expectations. See C.R. Anthony Co. v. Loretto

Mall Partners, 817 P.2d 238, 243 (N.M. 1991) (extrinsic evidence must show “the meaning …

attached to a particular term or expression at the time the parties agreed to those provisions.”)

emphasis added)).




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            Second, the statements referenced in the Complaint did not promise that Tesla vehicles

would be able to drive completely autonomously without human intervention by 2019. As detailed

above, Tesla explained in no uncertain terms, in the purchase screens that Plaintiff refers to in the

Complaint, that (1) the “currently enabled features” at the time of Plaintiff’s purchase “require

active driver supervision and do not make the vehicle autonomous” and (2) any future FSDC

features would depend on further developments, including meeting stringent milestones of

reliability and obtaining “regulatory approval.” RJN Ex. 1. Similarly, Mr. Musk’s February 2019

interview, upon which Plaintiff heavily relies, emphasized that even after FSD was “feature

complete” significant work remained to ensure that the feature was reliable. RJN Ex. 2. And that

any future deployment of FSDC features “without human oversight” would require multiple levels

of additional approvals. Id. And the December 19, 2019 tweet by Mr. Musk, equally made clear

that the December release was a “sneak preview” and not a full roll out of FSDC. RJN Ex. 3.

            Third, even if Plaintiff had seen Tesla’s alleged statements before purchasing his vehicle

(which he does not allege) and even if they contained the promises that Plaintiff claims (they do

not), Plaintiff’s contract claim would still fail because the Agreement is an integrated contract,

which provides: “Prior agreements, oral statements, negotiations, communications or

representations about the Vehicle sold under this Agreement are superseded by this

Agreement.” Compl. Ex. A at 4. Any expectations Plaintiff allegedly formed from Tesla’s

website or from Elon Musk’s February 2019 statements were thus superseded by the express terms

of the Agreement, which contains no promise that the FSDC features of Plaintiff’s Model 3 would

include fully autonomous driving without human intervention by the end of 2019.




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            Ultimately, Plaintiff’s contract claim is not supported by any actual contract term in the

Agreement and rests, at most, on his subjective belief that his Model 3 would be capable of fully

autonomous driving in 2019. Plaintiff’s subjective beliefs, however, cannot override the express

terms of the Agreement, and his contract claim must be dismissed as a matter of law. See

Environmental Control, Inc. v. City of Santa Fe, 131 N.M. 450, 456 (N.M. App. 2001) (rejecting

contract interpretation based on the plaintiff’s “subjective impressions” and “private intentions”).

II.         THE TORT AND QUASI CONTRACT CLAIMS FAIL AS A MATTER OF LAW

            A.     Plaintiff’s Tort Claims Fail Because the Parties’ Rights and Duties Are
                   Defined by the Contract

            Plaintiff’s three tort claims—civil conversion, negligence, 6 and common law fraud—all

fail because the dispute between the parties is governed by their Agreement.                          Under well-

established New Mexico law, the existence of a contract that specifically defines the rights and

duties of the parties, as the Agreement does here, precludes tort liability based on alleged breach

of those rights and duties. See Elliott Industries, 407 F.3d 1091, 1116 (10th Cir. 2005); see also

Utah Int’l, Inc. v. Caterpillar Tractor Co., 108 N.M. 539, 542 (1989). In Elliott Industries, the

Tenth Circuit affirmed the dismissal of fraud, constructive fraud, and conversion claims in a

dispute over natural gas royalties. Id. The Court explained that under New Mexico law, these tort

claims were “precluded” by the written agreements between the parties:

            [W]hen a contract specifically define[s] the rights and duties of the parties[,] any
            claimed breach of an extracontractual tort duty is precluded. This is because parties
            should be bound by the terms of written agreements to which they freely commit

6 Plaintiff styles his negligence claim “negligence per se.” Complaint ¶ 116. But “[n]egligence per se is not
technically a separate cause of action.” Gatewood v. Est. of Thompson, 2019 WL 4889161, at *2 (D.N.M. Oct. 3,
2019) (citation and quotation marks omitted). Rather, it is a method of proving an ordinary negligence claim. “The
doctrine of negligence per se allows the plaintiff to establish a breach of duty without satisfying the usual
‘reasonable care’ standard, by showing instead that the defendant was in violation of a statute or other law and that
this violation caused the plaintiff’s harm.” Id.

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            themselves.

Id. (citations and quotation marks omitted); see also Isler v. Tex. Oil and Gas Corp., 749 F.2d 22,

24 (10th Cir. 1984) (holding that “the contract specifically defined the rights and duties of the

parties regarding rental payments and notice, thereby precluding any extracontractual tort duty

regarding such payments”); Anderson Living Tr. v. ConocoPhillips Co., 952 F. Supp. 2d 979, 1045

(D.N.M. 2013) (dismissing fraud and conversion claims because “[t]he parties’ leases preclude the

Plaintiffs from bringing claims in tort for the violation of duties covered by the parties’ leases”);

see also In re Consol. Vista Hills Retaining Wall Litig., 119 N.M. 542, 550 (1995) (acknowledging

the “bedrock principle that contract damages be limited to those within the contemplation and

control of the parties in framing their agreement” and “the parties should not be allowed to use tort

law to alter or avoid the bargain struck in the contract.” (citations and quotation marks omitted)).

            This established doctrine mandates dismissal of Plaintiff’s tort claims. Stripped of their

rhetorical trappings, the tort claims all share the same basic premise as Plaintiff’s contract claim:

that Tesla breached the Agreement by failing to deliver an autonomous vehicle capable of driving

with no human intervention by the end of 2019. For example, Plaintiff claims conversion on the

basis that he “paid Tesla the $60,100 consideration that the Agreement specifies,” but Tesla “failed

to deliver [an autonomous self-driving system] to Young as promised, while wrongfully and

unlawfully retaining his $60,100.” Compl. ¶¶ 105, 109. Likewise, the negligence per se claim

centers on Plaintiff’s payment of $60,100 “for a vehicle with Full Self-Driving Capability” that

Tesla allegedly failed to deliver “before the end of 2019,” as the Agreement allegedly required.

Id. ¶¶ 115, 117. Similarly, Plaintiff’s fraud claim alleges that Tesla induced him to pay “$60,100

in exchange for a Model 3 equipped with Full Self-Driving Capability” that “would be delivered

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as an automatic software update before the end of 2019.” Id. ¶ 131. These allegations merely

repackage the contractual theory that Tesla allegedly failed to honor its obligations in the

Agreement.        Plaintiff’s conversion, negligence per se, and fraud claims must therefore be

dismissed since Plaintiff and Tesla expressly contracted for their respective liability. See Anderson

Living Tr., 952 F. Supp. 2d at 1044 (“The Court will not allow the Plaintiffs to overcome the

contractual provisions to which the parties have bound themselves by alleging, in tort, that the

Defendants’ conduct was fraudulent.”); Kachina Rentals LLC v. Mobile Storage Group Inc., 2009

WL 10666359, *3 (D.N.M. 2009) (dismissing fraudulent misrepresentation and other torts because

plaintiff’s duty to defendant “arises solely from the [c]ontract” and “[t]here is no relationship

between the parties other than the commercial relationship as a result of the [c]ontract”); Fogelson

v. Wallace, 406 P.3d 1012, 1032 (N.M.App. 2017) (affirming dismissal of conversion claim

premised on contract because the contract “expressly entitled [Plaintiffs] to remedies articulated

therein.”)

            B.     The Unjust Enrichment Claim Fails for Similar Reasons.

            Under New Mexico law, the “‘hornbook rule [is] that quasi-contractual remedies ... are not

to be created when an enforceable express contract regulates the relations of the parties with

respect to the disputed issue.’” Anderson Living Tr., 952 F. Supp. 2d at 1033 (quoting Elliott

Indus., 407 F.3d at 1117). Thus, “a party cannot assert an unjust enrichment claim against another

party where the parties are in privity of contract.” Walker v. Emergency Staffing Sols., Inc., 2017

WL 3206641, at *4 (D.N.M. Feb. 2, 2017). Here, Plaintiff alleges he and Tesla are in privity of

contract and concedes their Agreement governs the issue in dispute. See Complaint ¶¶ 89-96. As

such, quasi-contractual remedies are barred, and the unjust enrichment claim must be dismissed.


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Anderson Livin Tr., 952 F. Supp. 2d at 1033.

III.        PLAINTIFF’S FRAUD-BASED CLAIM ALSO FAILS FOR ADDITIONAL REASONS.

            Plaintiff’s fraud claim also fails because Plaintiff does not adequately allege the necessary

elements of fraud, which require: “(1) a misrepresentation of fact, (2) either knowledge of the

falsity of the representation or recklessness on the part of the party making the misrepresentation,

(3) intent to deceive and to induce reliance on the misrepresentation, and (4) detrimental reliance

on the misrepresentation.” Williams v. Stewart, 137 N.M. 420, 429 (2005).

            Further, a complaint “must state with particularity the circumstances constituting fraud,”

Fed. R. Civ. P. 9(b), which generally requires fact allegations demonstrating “the time, place and

contents of the false representation, the identity of the party making the false statements and the

consequences thereof.” George v. Urb. Settlement Servs., 833 F.3d 1242, 1254 (10th Cir. 2016).

The heightened pleading standard of Rule 9(b) applies to all elements of fraud, including a

plaintiff’s allegations of detrimental reliance. See Sandau v. Old, 2021 WL 3403644, at *1

(D.N.M. Aug. 4, 2021) (dismissing fraud claim where plaintiffs “do not allege with particularity

the consequences of their reliance on [the defendant’s] alleged misrepresentations,” “do not set

forth factual allegations stating with particularity that they detrimentally relied on [the]

misrepresentations,” and do not specify “whether any of the alleged statements were … relied

upon by [p]laintiffs before” they acted to their detriment (emphasis in original)). Plaintiff’s

Complaint fails to allege these required elements.

            First, Plaintiff does not allege facts to show he actually relied on any Tesla statement that

promised his Model 3 would be fully autonomous and capable of driving itself with no human

intervention by the end of 2019. While the Complaint refers to various alleged statements that


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Plaintiff says promised as such—which are all misquoted and taken out of context as discussed

above—Plaintiff does not allege facts to show that he ever heard, saw, or relied on these statements

before purchasing his vehicle.     Instead, Plaintiff’s reliance allegations consist only of vague

assertions and conclusory statements, as summarized below:

 Paragraph                                            Deficiencies

 13. “Sometime in 2018, Young became aware            This vague allegation gives no indication of
 of Tesla’s electric vehicles and in particular the   what Plaintiff reviewed and says nothing to
 company’s representation that they could be          suggest Tesla promised fully autonomous
 ordered with what Tesla labeled “Full Self-          driving without human intervention by the end
 Driving Capability.”                                 of 2019.

 19. “Young would not have purchased a 2019           This allegation does not identify what Tesla
 Model 3 at all but for his reasonable and            statements Plaintiff purportedly relied on, and
 justifiable reliance on Tesla’s repeated, highly     the vague reference to statements about “the
 specific, and imperative representations about       efficacy” of FSDC does not suggest that Tesla
 the efficacy of Full Self-Driving Capability,        promised autonomous driving without human
 and about its certain delivery before the end of     intervention by the end of 2019.
 2019.” (See also Compl. ¶¶ 4, 18, 41, 94, 99,
 106, 115, and 130)

 40. “When he entered into the Agreement with         This allegation also does not identify what
 Tesla, acting in justifiable and detrimental         Tesla statements Plaintiff purportedly relied on
 reliance on the company’s misleading,                and indicates that Plaintiff simply assumed
 fraudulent, and bad faith affirmative                based on “a plain language reading of the
 representations and material omissions alleged       term” FSDC that his vehicle would be
 herein, Young paid the company $60,100 via           autonomous by the end of 2019, when “the
 the wires and federally regulated banking            term” itself suggests nothing about when such
 institutions in exchange for a 2019 Model 3          capabilities might become available.
 with Full Self-Driving Capability, which Tesla
 represented would by December 31, 2019
 enable the vehicle to drive itself through traffic
 without any intervention by Young, as a plain
 language reading of the term implies, and as
 the SAE’s criteria for Level 4 and 5 automated
 driving provide.” (emphasis added.)

 42. “On the morning that Young retrieved his This allegation refers to Elon Musk’s March
 2019 Model 3 following the safety inspection 2019 statements, as referenced elsewhere in
 at Tesla’s dealership in Littleton, Colorado, the the Complaint, and certain unidentified pages
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 Paragraph                                          Deficiencies

 company’s website contained substantially the      of Tesla’s website with “substantially the
 same, specific representation that the company     same” statements, but does not indicate that
 and CEO Musk had repeatedly made publicly          Plaintiff ever heard or saw any of these
 via the wires to that point: namely, that Full     statements before purchasing his vehicle.
 Self-Driving Capability would be delivered via
 the internet as an automatic software update to
 Young's vehicle “later this year” or language
 substantially to that effect.”

 43. “Substantially the same representation was     Again, the allegation does not indicate what
 repeated verbally to Young by the manager of       specific “representation” was “repeated” to
 Tesla's Littleton, Colorado dealership,            Plaintiff “verbally.” The only description of
 Francisco Partida, whom Tesla had charged          the alleged verbal statement indicates Mr.
 with ensuring the vehicle’s safety before it was   Partida referred to FSDC as one of “the 2019
 released to Young, whereupon Partida               Model 3’s features,” but does not indicate any
 excitedly extolled the 2019 Model 3's features,    reference or promise that Plaintiff’s Model 3
 pointedly including Full Self-Driving              would be able to drive autonomously without
 Capability.”                                       human intervention by the end of 2019.

 49 “Before entering into the Agreement on          This allegation refers to Plaintiff’s purported
 May 20, 2019, Tesla solicited Young via the        “justifiable and detrimental reliance” and lists
 wires on its website and through the               certain alleged Tesla statements, but does not
 representations of CEO Musk to pay the             make the required connection of alleging that
 company $60,100 in exchange for a car              Plaintiff actually was exposed to and relied on
 equipped with a specific product that Tesla        any of the referenced statements. For example,
 labeled Full Self Driving Capability, and          Plaintiff refers to podcasts involving Mr. Musk
 Young acted in justifiable and detrimental         but states no facts to show he actually listened
 reliance on the company's public, highly           to or was even aware of them before
 specific,    imperative,    and    repeated        purchasing his vehicle.
 representations that:

 (i) the product was an autonomous self-driving
 system equivalent to SAE Level 4 or 5
 automated driving, as a plain language reading
 of the term implies and as CEO Musk
 specifically    represented    on    numerous
 occasions including but not limited to during
 February, April, November, and December of
 2019 as alleged herein;




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 Paragraph                                            Deficiencies

 (ii) Young's 2019 Model 3 would come with
 all computer hardware and other

 equipment necessary to enable Full Self-
 Driving Capability and thereby achieve SAE
 Level 4 or 5 automated driving;

 (iii) Full Self-Driving Capability was
 "available at the time of order[,]" Exhibit A;

 (iii) SAE Level 4 or 5 automated driving would
 be delivered by the end of 2019 as CEO Musk
 had promised in specific and imperative
 language: ‘I am certain of that. That is not a
 question mark.’” (See also Compl. ¶¶ 49, 76,
 88, 98, 102, 109, and 131)



 64. “Accordingly, the software that Tesla            This allegation does not state that Plaintiff
 released in 2019 to Young's 2019 Model 3             actually heard and saw the “auditory signal and
 would request—through an auditory signal and         colorful depiction,” and, in any case, these
 colorful depiction of a steering wheel—that          signals could not have induced Plaintiff to
 the driver must “take over immediately.” But         purchase his vehicle because they were made
 according to the SAE's criteria, that is a           available through a software update after
 defining characteristic of SAE Level 3               Plaintiff’s purchase.
 automated driving—which, as Tesla admitted
 to the California DMV in December of 2020,
 it had not achieved.”


            While Plaintiff makes various other conclusory assertions of what he was purportedly led

to believe, they are similarly devoid of the facts needed to demonstrate reliance.           In short,

Plaintiff’s rote recitations of reliance fall far short of Rule 9(b)’s heightened pleading

requirements, and his fraud claim fails as a matter of law. See Sandau, 2021 WL 3403644, at *1.

            Further, even if Plaintiff had demonstrated that he in fact relied on the Tesla statements

referenced in the Complaint, those statements contain no promise that Plaintiff’s Model 3 would

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be able to drive autonomously without human intervention by a date certain, as discussed in detail

above. See Section III supra. Indeed, the statements that Plaintiff points to in the Complaint—

that Tesla would deliver certain features “later this year,” “before the end of the year,” or “this

year,” see, e.g., Compl 17, 42, 45, 71(vi), 88(i), and 124(iv), —are predictions of future

developments that generally cannot support a fraud claim. See State ex rel. State Highway &

Transp. Dep’t v. Garley, 111 N.M. 383, 389 (1991) (a “misrepresentation … must be one of fact,

in the sense that [predictions] about the future or promises about the future will not be deemed

actionable.” (citation omitted)). 7

            Lastly, Plaintiff does not allege with particularity, as he must, that Tesla intended to deceive

him into purchasing a Model 3 based upon the promise of fully autonomous driving by the end of

2019. Instead, Plaintiff merely regurgitates a legal conclusion without any supporting factual

allegations. (Compl. ¶¶ 3, 4, 20(i), 132, and 135.) For instance, Plaintiff just asserts, with no

supporting factual allegations, that Tesla “intended to keep Young’s $60,100 indefinitely

regardless of whether . . . it had actually developed Full Self-Driving Capability[.]” (Id. 20(i).)

This is simply not enough. Plaintiff’s failure to allege any intent to deceive is fatal to his fraud

claim. See Lucero v. HSBC Bank USA, N.A., 2020 WL 2329476, at *4 (D.N.M., 2020) (dismissing

fraud claim where Plaintiff had failed to plead that Defendant “intended to deceive him about the

$3,000.”)




7The Complaint also alleges that “[s]ubstantially the same representation [as that on the website] was repeated
verbally to [Plaintiff] by the manager of Tesla’s Littleton, Colorado dealership.” Id. ¶ 43. The Complaint does not
explain what it means by “substantially the same,” but suggests that the manager merely “extolled the 2019 Model
3’s features, … including Full Self-Driving Capability.” Id. This does not allege a false statement of fact at all, nor
does it allege one with sufficient particularity under Rule 9(b). But even if the manager had literally parroted the
website, a forward-looking statement like the one on the website is not an actionable. See Garley, 111 N.M. at 389.

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            Ultimately Plaintiff fails to allege with particularity that he relied on any of the allegedly

misleading statements. A cause of action for fraud, requires at a minimum, that a plaintiff explain

what statements he relied upon. Plaintiff’s failure to do so here is glaring and requires dismissal.

IV.         THE COMPLAINT ALSO INDEPENDENTLY FAILS TO STATE A NEGLIGENCE PER SE CLAIM

            Plaintiff’s negligence claim must be dismissed because it is premised solely on a theory of

negligence per se, yet fails to allege the violation of any statute to which negligence per se

principles apply. In support of the negligence per se claim, the Complaint alleges that Tesla

violated New Mexico’s criminal fraud statute (NMSA 1978 § 30-16-6(F)), New Mexico’s criminal

embezzlement statute (NMSA 1978 § 30-16-8(F)), the federal wire fraud statute (18 U.S.C. §

1343), and the federal money laundering statute (18 U.S.C. § 1956). Complaint ¶ 113. To defense

counsel’s knowledge, no court has ever permitted a plaintiff to pursue a negligence per se claim

based on the alleged violation of these four statutes, nor should the Court allow that here.

            New Mexico law applies a four-part test for determining whether negligence per se applies:

“(1) [T]here must be a statute which prescribes certain actions or defines a standard of conduct,

either explicitly or implicitly, (2) the defendant must violate the statute, (3) the plaintiff must be

in the class of persons sought to be protected by the statute, and (4) the harm or injury to the

plaintiff must generally be of the type the legislature through the statute sought to prevent.” Heath

v. La Mariana Apartments, 143 N.M. 657, 659 (2008) (building code provision prohibiting

conditions “dangerous to life” was not sufficiently specific for negligence per se to apply). With

respect to the first requirement, the Court explained:

            [W]here [statutory] duties are undefined, or defined only in abstract or general
            terms, leaving it to the jury to evaluate the factual circumstances of the particular
            case to determine whether the defendant acted reasonably, then a negligence per se
            instruction is not warranted.

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Id. (emphasis added); see also Abeita v. Northern Rio Arriba Elec. Co-op, 124 N.M. 97 (1997)

(regulations requiring electric line maintenance to reduce hazards to life “as far as practicable” and

provide “adequate clearance” did not set standard beyond ordinary duty of care). 8

            Here, the statutes cited in the Complaint do not articulate specific standards of conduct.

Instead, they prohibit “fraud” and other broad categories of conduct described in “abstract or

general terms.”         Heath, 143 N.M. at 659.                See NMSA 1978 § 30-16-6 (prohibiting

“misappropriation … by means of fraudulent conduct, practices or representations”); NMSA 1978

§ 30-16-8 (prohibiting “embezzling … with fraudulent intent”); 18 U.S.C. § 1343 (prohibiting

“scheme or artifice to defraud” or “false or fraudulent pretenses, representations, or promises”);

18 U.S.C. § 1956 (prohibiting financial transactions “with the intent to promote the carrying on of

specified unlawful activity”).          These general statutory proscriptions “lack[] the specificity

necessary to provide any meaningful ‘substitute’ for common law duties of reasonable care.” Ross

v. Univ. of Tulsa, 2015 WL 4064754, *3 (N.D. Okla. July 2, 2015) (“Unlike a regulatory standard

that sets forth a specific requirement or best practice relevant to the fact pattern of a given case—

such as avoiding leaving foreign substances on a medical implant—the ‘standard’ set by Title IX

is simply to avoid sex discrimination in educational programs or activities.”).

            Furthermore, a criminal statute that does not create a private cause of action cannot serve

as the basis for negligence per se liability. See Ing Bank, FSB, v. First Cont'l Mortg., Inc., 2010

WL 11626857, at *10 (M.D. Fla. Aug. 11, 2010) (a “plaintiff cannot ground a negligence per se



8 In fact, some courts have found that “a claim of negligence per se may be supported only by statutes and
regulations relating to public safety, such as health regulations and rules of the road.” Scarborough v. Brown Grp.,
Inc., 935 F. Supp. 954, 964 (W.D. Tenn. 1995) (emphasis added) (dismissing negligence per se claim premised on
violation of non-discrimination statute).

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claim in a federal criminal statute unless Congress has clearly evinced its intent to create a private

cause of action for violations under the applicable statute.”). Here, the statutes cited in the

Complaint give rise to criminal liability, but they do not create private causes of action. See

Kingsley v. Ashworth, 139 F.3d 905 (9th Cir. 1998) (“18 U.S.C. § 1343 does not give rise to a

private cause of action”); Dubai Islamic Bank v. Citibank, N.A., 126 F. Supp. 2d 659, 668

(S.D.N.Y. 2000) (“Because 18 U.S.C. § 1956 … does not give rise to a private cause of action,

[plaintiff’s] negligence per se claim fails”); cf. Stern v. Epps, 464 F. App’x 388, 393 (5th Cir.

2012) (“Embezzlement and money laundering are crimes under Mississippi law, not private causes

of action.”); Estes v. ECMC Grp., Inc., 2020 WL 5549103, at *8 (D.N.H. Sept. 16, 2020) (finding

no private cause of action under New Hampshire’s criminal fraud statute).

            Because Plaintiff alleges Tesla violated statutes that do not define specific affirmative

duties or create private causes of action, these statutes cannot form the basis for a negligence per

se claim. And because Plaintiff does not allege the elements of an ordinary negligence claim,

including the breach of a duty based on a reasonable standard of care, see Zamora v. St. Vincent

Hosp., 335 P.3d 1243, 1249 (N.M. 2014), the negligence claim must be dismissed.

                                            CONCLUSION

            Plaintiff’s Complaint fails in its entirety because his claims are based on a purported

contractual obligation that does not exist, on tort duties that are precluded as a matter of law, and

on fraud allegations that are not pled with specificity. Accordingly, Tesla respectfully requests

that the Court grant Tesla’s Motion and dismiss the Complaint in its entirety.




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Dated: November 9, 2021                 Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

            I hereby certify that on November 9, 2021, I filed the foregoing document electronically

through the CM/ECF system, which caused all parties or counsel to be served by electronic means,

as more fully reflected on the Notice of Electronic Filing.


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